        Case 2:22-cv-03397-JFW-JC Document 5 Filed 05/19/22 Page 1 of 1 Page ID #:224
AO 121 (5HY6/)
TO:

                  5HJLVWHURI&RS\ULJKWV                                                               REPORT ON THE
                   86&RS\ULJKW2IILFH                                                       FILING OR DETERMINATION OF AN
                ,QGHSHQGHQFH$YH6(                                                            ACTION OR APPEAL
                :DVKLQJWRQ'&                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        ✔ ACTION
        G                      G APPEAL                                   United States District Court Central District of California -
DOCKET NO.                          DATE FILED                            Western Division
      2:22-cv-03397                           5/19/2022
PLAINTIFF                                                                             DEFENDANT
Slice, Inc.                                                                           Safex, Inc.




       COPYRIGHT
                                                                TITLE OF WORK                                                  AUTHOR OR WORK
    REGISTRATION NO.

1 TX 9-042-646                       Ceramic Craft Cutter Packging                                                  Slice, Inc.

2 TX 9-043-652                       Precision Cutter Packaging                                                     Slice, Inc.

3 TX 9-044-530                       Ceramic Pen Cutter Packaging                                                   Slice, Inc.

4 VA 2-277-092                       Finger Friendly                                                                Slice, Inc.

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill               G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                                  AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                         DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                                DATE



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